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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA
                                                                       MEMORANDUM AND ORDER
                                                                       23-CR-192 (NRM)
                           -against-


 JASON ROBINSON,

                           Defendant.

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 NINA R. MORRISON, United States District Judge:

         Pending before the Court is Defendant Jason Robinson’s motion to suppress

 evidence obtained by the government (1) during Robinson’s detention and manual

 search of his iPhone at JFK Airport (2) thereafter through a warrant issued for a

 forensic search of the same cell phone. The Court has considered the parties’ written

 briefs, the testimony given and exhibits entered at the suppression hearing held on

 January 8, 2025, the parties’ statements from oral argument held on January 15,

 2025, and all other letters and briefs submitted to the Court. For the reasons outlined

 below, Robinson’s motion is GRANTED.

                                                 OVERVIEW

         On November 14, 2022, Jason Robinson, a resident of Pennsylvania and a

 United States citizen, returned from a vacation in Egypt with his spouse. At customs,

 he was detained at secondary inspection at John F. Kennedy International Airport

 (“JFK”), and directed to hand over and provide the passwords to his electronic devices.

 A Customs and Border Patrol (“CBP”) agent manually searched his cell phone and



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 found evidence of child pornography. Relying on that information, a Special Agent

 from Homeland Security Investigations (“HSI”) seized all of Robinson’s devices and

 thereafter applied for a warrant to conduct a forensic search of Robinson’s phone.

 After additional pictures and videos depicting child pornography were found as a

 result of the forensic search, Robinson was indicted on one count of Transportation of

 Child Pornography, in violation of 18 U.S.C. § 2252(a)(1), and one count of Possession

 of Child Pornography, in violation of 18 U.S.C. § 2252(a)(4)(B).

       Robinson now seeks to suppress the contents of his cell phone. In support of

 his motion to suppress the physical evidence, Robinson argues that the Fourth

 Amendment requires the search of a cellular device at the border to be supported by

 a warrant and probable cause — neither of which was present here. This Court

 agrees. Although the Second Circuit has yet to address this issue, the Court has

 previously considered it in United States v. Sultanov, 742 F. Supp. 3d 258 (E.D.N.Y.

 2024), where it determined that the search of a cellular device at the border must

 indeed be supported by a warrant and probable cause.

       Additionally, the Court does not find that the search of Robinson’s phone at

 JFK, or the subsequent forensic search pursuant to a warrant, are covered by the

 good faith exception to the exclusionary rule.     As detailed below, this is chiefly

 because (1) the limited information that led CBP to search Robinson’s cell phone at

 JFK airport did not provide reasonable suspicion that he possessed contraband on his

 device at the time of the search, and (2) the Special Agent who prepared the

 subsequent warrant application misled the magistrate judge about the actual




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 circumstances that led to the airport search, intentionally omitting the one and only

 item of specific information known to CPB that led Robinson to be targeted for

 secondary screening and a device search in the first place. Thus, because the

 warrantless searches of Robinson’s phone violated the Fourth Amendment and are

 not covered by any exceptions to the warrant requirement or the exclusionary rule,

 Robinson’s motion to suppress the contents of his cell phone is GRANTED.

                      FACTS AND PROCEDURAL HISTORY

         The Court makes the following findings of fact based on the testimony and

 evidence presented at a suppression hearing held in this case and in exhibits offered

 by both parties.

    I.        Background Facts

         A.     Initial Search of Robinson’s Phone

         On November 14, 2022, Jason Robinson arrived at JFK Airport aboard a

 British Airways flight from London, United Kingdom, which originated in Cairo,

 Egypt. See Warrant Aff., Def. Mot. to Suppress Ex. C, ECF 25-5 ¶ 7. Robinson was

 traveling with his spouse, and returning from his first trip ever outside of the country.

 See Transcript of January 8, 2025 Suppression Hearing (“Hr’g Tr.”) at 52.             As

 Robinson went through customs, he was asked routine questions about his identity

 and travel itinerary by an officer. See Robinson Decl., Def. Mot. to Suppress Ex. A,

 ECF 25-3 at 1. The officer then brought Robinson, without his spouse, to a separate

 room where he was called to a counter and asked questions by a different, female

 officer. Id. at 1–3. He was asked by that officer what electronic devices he was




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 carrying, and he produced his iPhone, a laptop, and a Nintendo Switch gaming device.

 Id. at 2.

        That second officer was Customs and Border Patrol (“CBP”) Officer Shahamin

 Nunes. See Hr’g Tr. at 20–21, 41. On November 14, 2022, Officer Nunes was assigned

 as a secondary officer at JFK Terminal 7. See id. at 22. A secondary officer conducts

 a “secondary inspection,” which occurs after the initial officer, to whom an individual

 presents their passport, refers a passenger to “a special room” where the secondary

 inspection is conducted. Id. at 23. Officer Nunes confirmed that Robinson’s spouse

 was not allowed in the room for the secondary inspection. Id. at 47–48.

        The secondary room to which Robinson was directed consists of around 40 to

 50 chairs which all face a long bench where the secondary officers sit. Id. at 27. The

 room is approximately 50 or 40 feet by 40 or 30 feet. Id. Although the doors to the

 room remain open, Officer Nunes confirmed that Robinson was not free to “leave until

 [his] inspection[] [was] over.” Id. at 86.

        The primary officer referred Robinson to secondary inspection because the

 information presented was considered a “mandatory referral.”          Id. at 46.   This

 information was in the form of a “TECS lookout.” 1 See TECS Report, Gov’t Hr’g Ex.

 101. The TECS report, which Officer Nunes reviewed before speaking to Robinson,

 read: “Subj linked to the purchase of child sexual exploitation material via FinCen.

 Refer to secondary for interview & media device exam to include cell phones and



        1 The government indicates that TECS is not an acronym but rather is the

 “name for a system formerly known as the Treasury Enforcement Communications
 System.” Gov’t Opp., ECF 27 at 8 n.2.


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 laptops.” Id. at 2; Hr’g Tr. at 45–47. This TECS lookout for Robinson was entered on

 November 11, 2019 — three years before Robinson’s arrival at JFK. Id. at 1; Hr’g Tr.

 at 50.

          Officer Nunes then called Robinson up and asked him a few preliminary

 questions. He answered her questions fully and told her that he was traveling from

 Egypt with his spouse. Hr’g Tr. at 47. All of Robinson’s answers to these preliminary

 questions, such as whether he had any friends or family in Egypt, the purpose of the

 travel, and what he did for work, “matched” what Officer Nunes had in her system

 and, insofar as she was aware, appeared to be truthful. Id. at 80–82.

          Officer Nunes then gave Robinson a “tear sheet” which “explain[ed] CBP’s

 authority to search electronic devices.” Id. at 53–54; see also Tear Sheet, Gov’t Hr’g

 Ex. 102. She told him that CBP had the authority to conduct an exam. Hr’g Tr. at

 52. She then directed him to provide her with the passwords to his phone and other

 electronic devices. Id. at 54. He provided them, and she wrote them down on a sticky

 note. See id. at 56.

          Officer Nunes testified that if Robinson had refused to give her the devices or

 the passwords to them, she would have had “to contact [her] supervisor and see how

 they would want to proceed.” Id. at 55–56, 79. However, in the approximately 50

 electronic device searches that she has conducted, she has never once had a passenger

 refuse to hand over their devices. Id.

          Officer Nunes then put Robinson’s laptop in airplane mode, so it would not

 connect to the internet, and searched it for evidence of child sexual exploitation/abuse




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 material (“CSEM” or “CSAM”). Id. at 59. Robinson stayed seated in front of her at

 her desk as she performed a roughly thirty-minute search of his laptop, but found no

 evidence of CSAM. See id. at 60–61.

       After that, she proceeded to search Robinson’s iPhone. Id. at 61. After roughly

 15 minutes of searching applications on Robinson’s phone, Officer Nunes viewed

 videos and photographs that appeared to be depictions of CSAM in a folder called “My

 Favorites.” Id. at 62–63. At that point, Officer Nunes alerted Homeland Security

 Investigations (“HSI”). Id. at 64.

       About an hour later, HSI agent Allen Anstee arrived, and he took the devices

 into a separate room.    Id. at 65–66.   Agent Anstee conducted a brief review of

 Robinson’s iPhone, and also observed CSAM. Gov’t Opp. at 9–10. Agent Anstee then

 called Robinson into the interview room, where Anstee interviewed Robinson. Id. at

 10. Robinson was not arrested that night and was allowed to leave the airport. Hr’g

 Tr. at 66. However, HSI retained possession of his electronic devices. Id.

       B.     Search Warrant

       That same day, Agent Anstee called HSI Agent Richard Stepien. Id. at 136–

 37.   Agent Anstee relayed to Agent Stepien that he had identified CSAM on

 Robinson’s phone after a manual search of the phone at JFK airport. Id. at 137.

 Agent Stepien also reviewed the reports from the CBP Officers involved in the initial

 search. Id. Agent Stepien knew, from those reports, that Robinson had specifically

 been referred to secondary inspection because of a TECS report. Id. at 146.




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       One week later, on November 21, 2022, Agent Stepien applied for a warrant to

 search Robinson’s seized phone. Id. at 138–39; Warrant Aff. at 12. Although HSI

 had already identified CSAM on the phone, Agent Stepien testified that he applied

 for a warrant to search that same device “out of an abundance of caution because we

 were hoping to do a more thorough examination of the phone that is not as easily

 done manually.” Id. at 138.

       In the warrant application, Stepien described the circumstances that led to the

 seizure of Robinson’s phone as follows:

              [] On November 14, 2022, ROBINSON landed at John F. Kennedy
       International Airport (“JFK Airport”), traveling from Cairo, Egypt, via
       British Airways flight BA 115 arriving from London, United Kingdom.
       He was stopped by United States Customs and Border Protection
       (“CBP”) at JFK Airport for secondary inspection. A border search was
       conducted. During the search, ROBINSON voluntarily gave CBP
       officers the password for the Subject Device. Upon manually reviewing
       the Subject Device, CBP officers identified that there was child sexual
       abuse material on the subject device.

              [] At the border, a law enforcement agent with HSI conducted a
       preliminary review of the Subject Device and confirmed that it contained
       at least five photos containing child sex abuse material.

 Warrant Aff. ¶¶ 7–8.

      After the sentence “[a] border search was conducted,” Agent Stepien added a

 footnote that read: “The federal government has ‘broad plenary powers to conduct so-

 called “routine” searches at the border even without “reasonable suspicion that the

 prospective entrant has committed a crime.”’” Id. at 3 n.1 (quoting United States v.

 Levy, 803 F.3d 120, 122 (2d Cir. 2015)). Agent Stepien also indicated that following

 the initial search by CBP, an HSI agent reviewed the phone and confirmed that it




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 contained “at least five photos containing child sex abuse material.”      Id. ¶ 8.

 Magistrate Judge Cho granted the application and signed the warrant that same day.

 Id. at 12.

        C.    The Subsequent Searches and Interview

        Following the issuance of the warrant, Agent Stepien conducted a forensic

 examination of the phone, revealing 235 images that were classified as CSAM. Hr’g

 Tr. at 141. The examination also revealed 457 videos classified as CSAM. Id.

        On January 17, 2023, Agent Stepien applied for a warrant to search the

 remaining devices they had seized from Robinson, including a laptop, a USB thumb

 drive, and a memory card. Gov’t Opp. at 12. Agent Stepien based the probable cause

 determination in that warrant application on the photos and videos that had been

 recovered from Robinson’s phone. Id. That warrant was also authorized, and the

 search of Robinson’s remaining devices revealed 21 images and four videos containing

 CSAM. Id.

        On May 1, 2023, a Grand Jury returned an indictment charging Robinson with

 the Transportation of Child Pornography, in violation of 18 U.S.C. § 2252(a)(1), and

 Possession of Child Pornography, in violation of 18 U.S.C. § 2252(a)(4)(B).     See

 Indictment, ECF No. 1. On May 16, 2023, Agent Stepien arrested Robinson. See Hr’g

 Tr. at 147. Robinson agreed to speak with investigators after being advised of his

 Miranda rights, acknowledging that CSAM was present on his phone. Gov’t Opp. at

 12–13.




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    II.      Procedural History

          On July 10, 2024, Robinson filed the instant motion to suppress. See Robinson

 Br., ECF No. 25 at 1. Specifically, he asserted that the initial search and seizure of

 his phone at JFK airport by CBP and subsequently by HSI violated his Fourth

 Amendment rights, as the border-search exception to the warrant requirement does

 not permit the warrantless search of a traveler’s cell phone; that the officers lacked

 not only probable cause, but even reasonable suspicion to believe that he was

 traveling in possession of contraband.      Id. at 9–17.     He also argued that any

 statements made to Agent Anstee on the day of the search should be suppressed

 under the Fifth Amendment, arguing that he was in custody by the time the interview

 was conducted and that he was not advised of his Miranda rights. Id. at 17–21.

 Lastly, he claimed that the government had unreasonably delayed its application for

 a warrant to search the laptop, SD card, and thumb drive despite seizing those

 devices nine weeks earlier, was unreasonable, and that the evidence obtained from

 those searches should therefore be suppressed as well. Id. at 22–24.

          Regarding the search of Robinson’s iPhone, the government argued that the

 warrantless search at JFK Airport was covered by the border search exception,

 permitting CBP to conduct a device search without any individualized suspicion at

 all. Gov’t Opp. at 14–21. It then contended, alternatively, that even if a border search

 of a traveler’s cell phone requires reasonable suspicion, the November 2019 TECS

 report in this case provided the requisite reasonable suspicion. Id. at 21–23. Last,

 the government argued that even if probable cause and a warrant are required, the




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 fruits of the search should not be suppressed because the officers conducting it were

 covered by the good faith exception to the exclusionary rule. In the government’s

 view, the good faith exception applies because (1) the initial search was done in

 reliance on Second Circuit and Supreme Court precedent that authorizes a search of

 traveler’s phone as “routine”; (2) alternatively, even a “nonroutine” search need only

 be supported by reasonable suspicion, which the CBP officer had in this case; and (3)

 because the subsequent forensic search was done in reasonable reliance on Judge

 Cho’s warrant. Id. at 23–27.

       The Court scheduled an evidentiary hearing to take place on January 8, 2025.

 See Order dated on Nov. 12, 2024. On December 27, 2024, the government filed a

 letter with the Court, narrowing the claims at issue and arguing that a hearing was

 unnecessary. See Gov’t Letter Dated Dec. 27, 2024, ECF No. 38 (Gov’t 12/27/2024

 Ltr.). First, the government proffered that it will not seek to admit at trial any of the

 evidence recovered from any of Robinson’s devices besides his iPhone. Id. at 1. The

 government also stated that it did not intend to offer any of Robinson’s statements

 made to Agent Anstee on November 14, 2022. Id. at 2 n.1. The government then

 argued that all of the remaining issues were legal, not factual, and therefore an

 evidentiary hearing was unnecessary. Id. at 2–3.

       The Court denied the government’s request to cancel the evidentiary hearing.

 See Docket Order on 1/2/2025. However, based on the government’s representations

 that certain aspects of the motion were now moot, the Court denied without prejudice

 the aspects of Robinson’s motion that related to his statements to Agent Anstee and




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 the evidence recovered from any device other than his iPhone. See Minute Entry on

 1/8/2025.

       At the evidentiary hearing, the government put on three witnesses: CBP

 Officer Shahamin Nunes, Special Agent Egbert Simon of the United States Attorney’s

 Office (formerly of CBP), and Special Agent Richard Stepien. See id. The Court then

 held oral argument one week later, on January 15, 2025. See Minute Entry on

 1/15/2025.

                                      DISCUSSION

       On a motion to suppress in a criminal case, the defendant bears the burden of

 demonstrating the basis for the motion. See United States v. Masterson, 383 F.2d

 610, 614 (2d Cir. 1967). Once the defendant meets his burden, the burden shifts to

 the government. See United States v. Arboleda, 633 F.2d 985, 989 (2d Cir. 1980).

 Where the defendant’s motion is premised on a Fourth Amendment violation, “the

 Government bears the burden of justifying an exception to the warrant requirement

 by a preponderance of the evidence.” United States v. Alisigwe, No. 22-cr-425 (VEC),

 2023 WL 8275923, at *4 (S.D.N.Y. Nov. 30, 2023) (citing United States v. Arboleda,

 633 F.2d 985, 989 (2d Cir. 1980)).

 I.    Fourth Amendment

       The Fourth Amendment to the Constitution protects “[t]he right of the people

 to be secure . . . against unreasonable searches and seizures.” U.S. Const. amend. IV.

 The Fourth Amendment “expressly imposes two requirements. First, all searches

 and seizures must be reasonable.      Second, a warrant may not be issued unless




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 probable cause is properly established and the scope of the authorized search is set

 out with particularity.” Kentucky v. King, 563 U.S. 452, 459 (2011).

       Before law enforcement officers conduct a search for evidence of a crime,

 “reasonableness generally requires the obtaining of a judicial warrant,” subject to

 several narrowly delineated exceptions. Riley v. California, 573 U.S. 373, 382 (2014)

 (internal quotation marks omitted).      This case implicates the so-called “border

 exception” to the warrant requirement, which has historically been applied to exempt

 government officials from the warrant requirement and allow them to conduct brief

 searches of travelers’ persons and effects to prevent contraband from entering the

 country. See United States v. Montoya de Hernandez, 473 U.S. 531, 537 (1985). The

 issue here is whether, in light of that exception, a compelled search of the contents of

 a traveler’s cell phone or other handheld electronic device conducted without a

 warrant and without probable cause is reasonable under the Fourth Amendment if

 that search takes place at an international border. 2       If the Court answers that

 question in the negative, then the warrantless search of Robinson’s cell phone

 violated the Fourth Amendment, and the fruits of that search could be subject to

 suppression.

       A.       The Warrant Exception for Routine Border Searches

       When assessing the reasonableness of a search, courts are guided by

 “balancing its intrusion on the individual’s Fourth Amendment interests against its



       2 An international airport, like JFK, “is considered the functional equivalent of

 a border for Fourth Amendment purposes.” Alisigwe, 2023 WL 8275923, at *3 n.5
 (internal quotation marks omitted).


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 promotion of legitimate governmental interests.” Montoya de Hernandez, 473 U.S. at

 537 (internal quotation marks omitted). At the border, searches that would violate

 the Fourth Amendment if they were conducted within the country may be reasonable

 because the balance between the government’s interests and the individual’s privacy

 interests tips decidedly in the government’s favor. See id. at 539–40. That is because

 the government’s “interest in preventing the entry of unwanted persons and effects

 is at its zenith at the international border.” United States v. Flores-Montano, 541

 U.S. 149, 152 (2004). And a traveler in an international airport seeking entry into

 the United States has a diminished expectation of privacy due in part to the

 surveillance and security measures that are endemic in air travel. See Montoya de

 Hernandez, 473 U.S. at 539–40.

       The border search exception is based not only on the “balance between the

 interest of the Government and the privacy right of the individual,” which is “struck

 much more favorably to the Government at the border,” but also on the history and

 tradition of the government’s customs enforcement power. Id. at 537–40. The same

 Congress that proposed the Bill of Rights enacted the first customs statute that

 empowered customs officials to search incoming “ship[s] [and] vessel[s]” suspected of

 transporting “any goods, wares or merchandise subject to duty.” United States v.

 Ramsey, 431 U.S. 606, 616 (1977) (internal quotation marks omitted).

       Although such searches, if conducted domestically, would have required a

 warrant and probable cause to be reasonable under the Fourth Amendment, those

 warrantless searches by customs officials were reasonable “simply by virtue of the




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 fact that they occur[red] at the border.” Id.; see also United States v. Thirty-Seven

 Photographs, 402 U.S. 363, 376 (1971) (“Customs officers characteristically inspect

 luggage and their power to do so is not questioned in this case; it is an old practice

 and is intimately associated with excluding illegal articles from the country.”). The

 historic power of customs officials to conduct “routine inspections and searches” of

 goods at the border and “its functional equivalents” also extends to searches of people

 at the border based on the government’s power “to exclude aliens from the country.”

 Almeida-Sanchez v. United States, 413 U.S. 266, 272 (1973). Thus, for at least two

 centuries, the government’s “inherent authority to protect” and “paramount interest

 in protecting[] its territorial integrity,” Flores-Montano, 541 U.S. at 153, has led

 courts to uphold searches of people and property at the border that would under

 ordinary circumstances violate the Fourth Amendment. See Montoya de Hernandez,

 472 U.S. at 554 (Brennan, J., dissenting) (distinguishing between searches at the

 border “for purposes of immigration and customs control” and searches “carried out

 for purposes of investigating suspected criminal activity”).

       B.     Nonroutine Searches at the Border

       “Nonetheless, the touchstone of the Fourth Amendment analysis remains

 reasonableness,” and the border search exception “does not mean . . . that at the

 border anything goes.” United States v. Cotterman, 709 F.3d 952, 960 (9th Cir. 2013)

 (internal quotation marks omitted). The Supreme Court has differentiated between

 routine border searches, like the search of a traveler’s luggage, see Thirty-Seven

 Photographs, 402 U.S. at 376, and searches conducted at the border “for purposes




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 other than a routine border search” that exceed the “scope of a routine customs search

 and inspection,” see Montoya de Hernandez, 473 U.S. at 540–41. “[T]he level of

 intrusion into a person’s privacy is what determines whether a border search is

 routine” and thus whether the border search exception applies or not. United States

 v. Irving, 452 F.3d 110, 123 (2d Cir. 2006).

       To determine whether a warrantless, nonroutine search is permissible under

 the Fourth Amendment, courts conduct the customary reasonableness balancing test,

 in which “the offensiveness of the intrusion must be weighed against the level of

 warranted suspicion.” Id. For example, in Montoya de Hernandez, the Supreme

 Court held that a noncitizen traveler who presented herself for admission at the

 border and was suspected of “smuggling contraband in her alimentary canal” was

 lawfully detained by CBP for sixteen hours because CBP had reasonable suspicion

 that the traveler was attempting to smuggle drugs into the country, and because they

 detained her only “for the period of time necessary to either verify or dispel” the

 suspicion. 473 U.S. at 541–44. The Court considered the totality of the circumstances

 surrounding the traveler’s detention and weighed the intrusiveness of the detention

 at issue against the government’s “longstanding concern for the protection of the

 integrity of the border.”    Id. at 538.   And the government’s interest in taking

 reasonable measures to interdict the flow of illegal narcotics was, in the Court’s view,

 entitled to great weight given what was, at that time, a “veritable national crisis in

 law enforcement caused by smuggling of illicit narcotics.” Id.




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       Similarly, in United States v. Asbury, 586 F.2d 973 (2d Cir. 1978), the Second

 Circuit assessed the Fourth Amendment reasonableness of a strip search at the

 border of a traveler suspected of carrying contraband. The court characterized the

 challenged strip search as a nonroutine search not governed by the border search

 exception, reasoning that while “anyone entering or leaving the country may expect

 to have his luggage and personal effects examined, he does not expect that his entry

 or departure, standing alone, will cause him to be subjected to a strip search.” Id. at

 975. The court then conducted the traditional Fourth Amendment reasonableness

 analysis in the specific (border-security) context presented. Id. at 976–77. It weighed

 the traveler’s expectation of privacy against the government’s heightened interest in

 preventing illegal narcotics from being smuggled across the border and ultimately

 upheld the search as supported by individualized suspicion and within the Fourth

 Amendment’s bounds of reasonableness. Id.; see also Irving, 452 F.3d at 123 (citing

 Asbury, 586 F.2d at 975–76, for the proposition that while “routine border searches

 of a person’s belongings,” including searches of “outer clothing, luggage, a purse,

 wallet, pockets, or shoes,” “are made reasonable by that person’s decision to enter this

 country, more invasive searches, like strip searches” that “substantially infringe on

 a traveler’s privacy rights,” “require reasonable suspicion”).

       C.     A Warrant is Required for the Search of a Cell Phone at the
              Border

       To date, neither the Supreme Court nor the Second Circuit has decided (1)

 whether a search of a traveler’s cell phone or other handheld electronic device at the

 border is a routine search covered by the border search exception, or (2) if it is a



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 nonroutine search, the level of suspicion required for the search to be reasonable

 under the Fourth Amendment (i.e., whether it may be conducted at the point of entry

 by border officials based on a mere showing of reasonable suspicion or whether it

 requires a warrant and probable cause).

        However, a number of district courts in this Circuit have had the issue squarely

 presented to them in border-search challenges in recent years. In one such case, this

 Court reviewed the Supreme Court’s and Second Circuit’s related jurisprudence and

 concluded that the search of a cell phone at the border, whether a so-called “manual”

 or “forensic” search, is a nonroutine search. See United States v. Sultanov, 742 F.

 Supp. 3d 258, 288 (E.D.N.Y. 2024). In that same case, this Court further held that

 applying that existing caselaw, including but not limited to the Supreme Court’s

 decision in Riley, to the cell phone context compels the conclusion that the Fourth

 Amendment requires probable cause and a warrant for the government to search a

 traveler’s cell phone. See id. at 296 (“Where the government seeks access to private

 devices that hold such a vast array of expressive content [such as cell phones], only

 the standard conceived by the Founders and codified in the Fourth Amendment —

 probable cause and the approval of a neutral magistrate — can bear the weight of

 that obligation.”).

        The Court’s reasoning is more fully detailed in Sultanov itself, see id. at 280–

 96, but given that both parties have raised the issue anew in this motion, it is

 summarized below.




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       The Court begins its analysis with the Supreme Court’s 2014 decision in Riley

 v. California, where the Court addressed how the search incident to arrest exception

 to the warrant requirement applies to modern cell phones. 573 U.S. at 385. In Riley,

 the Court concluded that “[c]ell phones differ in both a quantitative and qualitative

 sense from other objects” an arrestee might have on their person because they are “in

 fact minicomputers” with “immense storage capacity” that allowed an individual to

 carry “every piece of mail they have received in the past several months, every picture

 taken, [and] every book or article that they have read.” Id. at 393–94. The Court

 explained that “a cell phone search would typically expose to the government far more

 [information] than the most exhaustive search of a house.” Id. at 396–97. The Court

 concluded that because modern cell phones “hold for many Americans the privacies

 of life,” the “answer to the question of what police must do before searching a cell

 phone seized incident to arrest is accordingly simple — get a warrant.” Id. at 403

 (internal quotation marks omitted).

       Following Riley, the Second Circuit has recognized the immense privacy

 concerns implicated by the search of electronic devices. See United States v. Smith,

 967 F.3d 198, 208 (2d Cir. 2020) (“[T]he search and seizure of personal electronic

 devices like a modern cell phone or tablet computer implicates different privacy and

 possessory concerns than the search and seizure of a person’s ordinary personal

 effects.”). The Circuit has noted that it is not just the quantity of the data contained

 on an electronic device which triggers heightened privacy concerns, but also the

 nature of that material, explaining that in one place the government can find “[t]ax




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 records, diaries, personal photographs, electronic books, electronic media, medical

 data, records of internet searches, [and] banking and shopping information.” United

 States v. Ganias, 824 F.3d 199, 218 (2d Cir. 2016) (en banc).

       While it is true that Riley concerned the search incident to arrest exception to

 the warrant requirement, the Supreme Court’s clear holding regarding the extent of

 privacy interests implicated in a cell phone search is necessary for this Court to

 consider when “balancing [a search’s] intrusion on the individual’s Fourth

 Amendment interests against [the search’s] promotion of legitimate governmental

 interests” in the border search context. Montoya de Hernandez, 473 U.S. at 537

 (internal quotation marks omitted). As explained in Sultanov, Supreme Court and

 Second Circuit precedent make it clear that a traveler’s Fourth Amendment interest

 in a personal cell phone is extremely high. See Sultanov, 742 F. Supp. 3d at 279–88.

       To properly consider the “governmental interest” side of the equation in this

 context, the Court looks to the history behind the border search exception. The border

 search exception is primarily derived from “the government’s legitimate interest in

 protecting the integrity of the border by preventing ‘illegal articles’ (including goods

 subject to duty) and inadmissible foreign citizens from entering the country.” Id. at

 285 (collecting cases) (finding that “[s]earching and seizing the data on a person’s

 phone does not prevent that data . . . from entering and circulating within the

 country”).   While there is of course always a general governmental interest in

 detecting and seizing contraband, especially CSAM, the extent to which that interest

 aligns with the justification for the border search exception is far from clear “when




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 the government searches data stored on a person’s cell phone.” Id. Thus, “[g]iven the

 extraordinary intrusion into a person’s privacy posed by a cell phone search, this

 Court has no difficulty concluding that a manual search of a cell phone at the border

 is a nonroutine search to which a categorical border search exception does not apply.”

 Id. at 288. 3

        After finding that the search of a cell phone is “nonroutine,” a Court must then

 decide the requisite degree of suspicion required for the search to be reasonable under

 the Fourth Amendment. In Sultanov, this Court noted that the other circuit courts,

 and most district courts within the Second Circuit, which have recognized that law

 enforcement must have some degree of individualized suspicion to search a cell phone

 at the border, have not gone so far as to require a warrant. See id. at 290 (collecting

 cases). However, taking into consideration the various factors that bear on the

 Fourth Amendment’s touchstone of “reasonableness” — including a person’s

 heightened privacy interest in the vast contents of her cell phone, the remarkable

 speed at which a warrant can be obtained in modern times, the interest in preventing

 the flow of contraband that grounds the border-search exception, and the profound

 First Amendment concerns implicated by border agents conducting warrantless

 searches of travelers’ cell phones and gaining “intimate window[s]” into virtually

 every aspect of their personal and professional lives — this Court concludes that the




        3 This Court in Sultanov also found that because both manual and forensic

 searches of cell phones “involve[d] . . . a vast intrusion on a traveler’s privacy,” “the
 privacy intrusion of a manual search is substantially the same, for Fourth
 Amendment purposes, as the privacy invasion of a forensic search.” Id.


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 government must have a warrant and probable cause to search a cell phone at the

 border. See id. at 296 (quoting Carpenter v. United States, 585 U.S. 296, 311 (2018)).

          Although this Court recognizes that the Second Circuit may well resolve this

 issue in the near future, at this writing, the government has presented no intervening

 case law or novel arguments that lead the Court to revisit its holding in Sultanov.

 Therefore, this Court concludes that the warrantless search of Robinson’s iPhone on

 November 14, 2022, was conducted in violation of his Fourth Amendment rights.

 Accordingly, the contents revealed in that search, as well as all “evidence obtained

 from or as a consequence” of the search, is subject to exclusion. Costello v. United

 States, 365 U.S. 265, 280 (1961) (internal quotation marks omitted).

          Accordingly, the evidence obtained “as a direct result of [the] illegal search or

 seizure” as well as evidence that is “derivative of [the] illegality” is subject to

 suppression. United States v. Cacace, 796 F.3d 176, 188 (2d Cir. 2015) (quoting

 Segura v. United States, 468 U.S. 796, 804 (1984)). As the warrantless search by

 Officer Nunes at JFK was a “[b]ut-for” cause of the subsequent search by HSI agent

 Anstee, and unquestionably provided the probable cause for a forensic search of

 Robinson’s phone cited in the search warrant affidavit by Agent Stepien, all the fruits

 of the initial search of Robinson’s iPhone are subject to suppression as well. See

 Hudson v. Michigan, 547 U.S. 586, 592 (2006).


    II.      The Good Faith Exception

          The Court next turns to the government’s claim that, even if probable cause

 and a warrant were necessary to search Robinson’s phone at the border, evidence



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 from his phone should not be suppressed as it was obtained in good faith by law

 enforcement. See Gov’t Opp. 23–27 (citing United States v. Leon, 468 U.S. 897, 908

 (1984) (“[W]hen law enforcement officers have acted in objective good faith or their

 transgressions have been minor, the magnitude of the benefit conferred on such guilty

 defendants offends basic concepts of the criminal justice system.”).

       A. Legal Standards and Summary of Findings

       The government makes two core arguments as to why the good faith exception

 to the exclusionary rule should apply here. The first involves the initial search at

 JFK Airport. The government argues that Officer Nunes had a reasonable belief that

 the manual search of the cell phone at JFK airport was “routine” and thus required

 no individualized suspicion; alternatively, if it was “nonroutine,” she had “reasonable

 suspicion” to search the phone, and therefore had a good faith basis to believe that

 her actions did not violate Robinson’s Fourth Amendment rights. Id. at 24–25. The

 government’s second argument is that the issuance of the warrant itself provides the

 requisite good faith: that is, that the subsequent forensic search was authorized by a

 judicial warrant, and HSI reasonably relied on that warrant when the agency

 conducted its forensic search of the iPhone. See id. at 25–27.

       The Supreme Court has recognized two applications of the good faith exception

 to the exclusionary rule that may apply here. The first is when a search is conducted

 in “objectively reasonable reliance on binding appellate precedent,” Davis v. United

 States, 564 U.S. 229, 249–50 (2011). The second is when a search is conducted in

 “objectively reasonable reliance on a subsequently invalidated search warrant.”




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 Leon, 468 U.S. at 922; but see id. at 923 (suppression “remains an appropriate

 remedy” where, inter alia, a court finds that the magistrate judge who issued the

 warrant “was misled by information in an affidavit that the affiant knew was false”

 or where the affiant exhibited a “reckless disregard of the truth”).

       If neither of those two circumstances apply, that does not end the inquiry. For

 even if officers in the field who conduct a warrantless search or seizure lacked a good

 faith basis to believe their actions were constitutional, evidence will still only be

 excluded when the “corrective value [of exclusion] justifies its cost.” United States v.

 Raymonda, 780 F.3d 105, 117–18 (2d Cir. 2015). This cost is justified when “the police

 exhibit deliberate, reckless, or grossly negligent disregard for Fourth Amendment

 rights.” Id. at 118 (internal quotation marks omitted). On the other hand, “when

 police act with an objectively reasonable good faith belief that their conduct is lawful,

 or when their conduct involves only simple, isolated [instances of] negligence,”

 exclusion is inappropriate.     Id. (internal quotation marks omitted) (emphasis

 supplied). This is because the remedy of suppression is not borne out of any explicit

 text from the Fourth Amendment. Rather, the “Supreme Court has established an

 exclusionary rule that, when applicable, forbids the use of improperly obtained

 evidence at trial.”   United States v. Lauria, 70 F.4th 106, 121 (2d Cir. 2023)

 (alterations adopted and internal quotation marks omitted). The rule was created

 not as a “means to ‘redress the injury’ of an unconstitutional search” but rather was

 “designed to deter future Fourth Amendment violations.” Raymonda, 780 F.3d at

 117 (quoting Davis, 564 U.S. at 236); see also Herring v. United States, 555 U.S. 135,




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 141 (2009) (“[T]he exclusionary rule is not an individual right and applies only where

 it results in appreciable deterrence.” (alterations adopted and internal quotation

 marks omitted)). Because deterrence is the goal of the exclusionary rule, for it to

 apply, “police conduct must be sufficiently deliberate that exclusion can meaningfully

 deter it.” Herring, 555 U.S. at 144.

       For the reasons that follow, the Court finds that the government cannot rely

 upon either of its proposed good faith exceptions to the exclusionary rule. First, with

 regard to the manual search by border agents, there was no binding precedent that

 authorized a so-called “routine” search of Robinson’s iPhone on which a reasonable

 officer could have relied. And even if the agents had a good faith basis to believe that

 no judicial warrant was required and they needed only reasonable suspicion, the

 staleness and limited information in the TECS Report that provided the sole ground

 for the search did not permit them to conduct the search under then-existing

 appellate caselaw that governs certain “nonroutine” searches at the border. And after

 weighing the societal cost of exclusion against its “corrective value,” Raymonda, 780

 F.3d at 117–18, the Court finds that suppression is warranted.

       Second, the government has not shown that the subsequent forensic search of

 Robinson’s phone was conducted in a good faith reliance on the warrant. This is

 because, as explained below, the magistrate judge was not provided with critical facts

 surrounding the government’s earlier seizure of the evidence that supported the

 probable cause determination. Instead, the record demonstrates that Agent Stepien

 (1) presented the magistrate judge with an incomplete and misleading affidavit in




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 support of the warrant, which falsely implied that the search of Robinson’s phone at

 JFK was a routine, suspicionless “border search,” and deliberately omitted the fact

 that it was actually conducted pursuant to a three-year-old TECS report; and (2)

 falsely suggested that the search was performed after Robinson gave his “voluntar[y]”

 consent, when that was not the case; for even the government does not contend that

 this case falls within the Fourth Amendment’s consent exception, since Robinson was

 directed, not asked, to surrender his phone and provide his passcode at the time he

 was individually targeted for an electronic media search.

       B. The Manual Search of Robinson’s iPhone on November 14, 2022

       The government first argues that even if the Court were to conclude that the

 manual search conducted on Robinson’s cell phone on November 14, 2022, was

 unconstitutional, CBP Officer Nunes searched the iPhone “with an objectively

 reasonable good-faith belief that [her] conduct [was] lawful.”     Gov’t Opp. at 24

 (quoting United States v. Zodhiates, 901 F.3d 137, 143 (2d Cir. 2018) (quoting Davis,

 564 U.S. at 238). The Court disagrees. After hearing her in-court testimony, the

 Court has no doubt that Officer Nunes subjectively believed that her actions were in

 accordance with (indeed, required by) CBP policy and the directives of her supervisors

 as she understood them. But that is not the issue here. Ultimately, the good faith

 exception does not apply because the government has not shown that there was an

 objective basis — supported by binding appellate caselaw — upon which Officer

 Nunes could have reasonably relied to believe that this particular search was

 constitutional.




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       It is well settled that searches “conducted in objectively reasonable reliance on

 binding precedent are not subject to the exclusionary rule.” Davis, 564 U.S. at 232.

 The Second Circuit has held that “binding precedent refers to the precedent of this

 Circuit and the Supreme Court.” United States v. Aguiar, 737 F.3d 251, 261 (2d Cir.

 2013) (internal quotation marks omitted). Therefore, if Officer Nunes reasonably

 believed that “binding precedent” of this Circuit or the Supreme Court authorized the

 search, the fruits of the search would not be subject to suppression. The government

 has failed to make that showing here.

              i.     Binding Appellate Precedent Would Not Lead a Reasonable
                     Officer to Believe that the Search of an iPhone Was “Routine”

       The government first argues that Officer Nunes reasonably relied on binding

 appellate precedent in believing that the search was “routine,” and therefore did not

 require any modicum of suspicion. See Gov’t Opp. at 24 (“[A] reasonable officer or

 agent could believe that the search in question was routine . . . .”). The government

 contends that because there was no binding precedent precluding suspicionless

 searches of cell phones at the border, Officer Nunes “rel[ied] in good faith on the

 existing state of the law” in searching Robinson’s iPhone. Gov’t 12/27/2024 Ltr. at 3.

       The first flaw in this argument is its initial premise: it reverses the burden the

 good faith exception places on law enforcement. The good faith exception does not

 permit the law enforcement to engage in any and all warrantless searches until an

 appeals court forbids it. Rather, there must be actual “binding precedent” on which

 a reasonable officer could rely in believing that the search was lawful — i.e., that it

 fell within an established exception to the Fourth Amendment’s warrant


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 requirement. Davis, 564 U.S. at 241; see also United States v. Fox, No. 23-cr-225

 (NGG), 2024 WL 3520767, at *18 n.34 (E.D.N.Y. July 24, 2024) (noting that, unlike

 qualified immunity, “exclusion does not require a violation of ‘clearly established

 law’” (quoting Mullenix v. Luna, 577 U.S. 7, 11 (2015)).

       At the time of the search of Robinson’s iPhone, “neither the Supreme Court nor

 the Second Circuit ha[d] addressed the lawfulness of warrantless searches of cell

 phones at the border.” Alisigwe, 2023 WL 8275923, at *7. However, the Second

 Circuit had long recognized that not all searches at the border were alike.

 Specifically, the Circuit had long held that border searches considered to be “non-

 routine” required at least reasonable suspicion to be constitutional. See Irving, 452

 F.3d at 124.

       The first question, then, is whether a reasonable officer could have objectively

 believed, in November 2022, that there was “binding appellate precedent” within this

 Circuit holding that a search of an international traveler’s iPhone was a “routine”

 search requiring no individualized suspicion. On this issue, Irving provides a useful

 anchor point. Irving involved the warrantless border search of computer diskettes in

 a passenger’s luggage — a rudimentary form of electronic media storage that is vastly

 different in kind than what is contained on modern smart phones. 4 The Irving court


       4  The search in Irving concerned a “disposable camera and two 3.5 inch
 computer diskettes,” commonly known as floppy disks. Irving, 452 F.3d at 115.
 Floppy disks “featured 1.44 megabytes of storage space.” Floppy Disk Storage, IBM,
 https://www.ibm.com/history/floppy-disk (last visited May 4, 2025). For comparison,
 Robinson’s iPhone that was searched was an “Apple iPhone XS,” Warrant Aff. ¶ 4, of
 which the base model has a storage capacity of 64 gigabytes, iPhone XS – Technical
 Specifications, Apple, https://support.apple.com/en-us/111881 (last visited May 4,



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 analyzed the search under the higher standard of a “nonroutine” border search,

 asking whether the agents had reasonable suspicion. Because the court was satisfied

 that reasonable suspicion justified the search in Irving’s case, it did not reach the

 issue of whether this kind of search should, in general, be considered “routine” or

 “non-routine.” Id. Thus, in 2006 — more than a decade before the Supreme Court

 provided the guidance in Riley that the search of a cell phone “differ[ed] in both a

 quantitative and qualitative sense” from the search of other objects, Riley, 573 U.S.

 at 393 — the Second Circuit acknowledged that the search of a far less substantial

 cache of electronic data at the border may not be a “routine” search.

       More fundamentally, the government has pointed this Court to no Second

 Circuit or Supreme Court precedent holding — or even suggesting — that law

 enforcement’s search of a modern cell phone and the breathtaking amount of personal

 information it holds could ever be considered a “routine” border search. Nor has it

 cited any case in which the Second Circuit or the Supreme Court found “routine” a

 search in which the level of intrusion was in any way analogous to the search of a

 traveler’s iPhone.

       It is true that in United States v. Levy, the Second Circuit, in a footnote that

 might reasonably be construed as dicta, noted that “we have suggested that the label

 ‘non-routine’ should generally be reserved for intrusive border searches of the person

 (such as body-cavity searches or strip searches), not belongings.” 803 F.3d 120, 123




 2025). As there are 1,000 megabytes in a gigabyte, Robinson’s iPhone had at least
 approximately 44,444 times more storage than one of Irving’s floppy disks.


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 n.3 (2d Cir. 2015) (emphasis supplied). Levy did not involve any sort of electronic

 evidence; the Court was asked to decide only whether border officials had lawfully

 searched and copied a traveler’s notebook. See id. at 123. Notably, however, when

 addressing whether the search of a simple notebook was “routine” or “non-routine,”

 the Levy Court “avoid[ed] resolving that question” and simply held that suppression

 was unwarranted because law enforcement had reasonable suspicion to conduct the

 search in Levy’s case. Id.

        Thus, even construing the caselaw in the light most favorable to the

 government, Second Circuit precedent as to whether the search of a cell phone at the

 border was routine or nonroutine in November of 2022 was, at the very most,

 unsettled. And unsettled law is not “binding appellate precedent” upon which law

 enforcement can reasonably rely to justify a suspicionless search. Davis, 564 U.S. at

 241.

        Indeed, all binding appellate precedent in 2022 strongly supported the opposite

 conclusion: that the search of an electronic device is nonroutine because it is clearly

 of a difference in kind than the search of a person’s other belongings (like, for

 example, a notebook). In 2016, for example, the Second Circuit, sitting en banc, held

 that the level of intrusion caused by the search of a computer hard drive is not

 analogous to that caused by the search of an entire file cabinet, as “no file cabinet has

 the capacity to contain as much information as the typical computer hard drive.”

 Ganias, 824 F.3d at 217; see also Riley, 573 U.S. at 393–94 (finding that the search of

 a cell phone was unusually invasive because it could permit the government to




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 reconstruct “[t]he sum of an individual’s private life . . . through a thousand

 photographs labeled with dates, locations, and description”).

       It is important to note that all an officer may rely on in good faith is binding

 appellate precedent. The government presented evidence that it was CBP policy that

 the phone of any passenger may be subject to search upon entry into the country. See

 Hr’g Tr. at 54 (Officer Nunes explaining that a “tear sheet” is given to a passenger

 whose phone is searched that “explains CBP’s authority to search electronic devices”);

 Tear Sheet at 3 (informing passengers that “[a]ll persons, baggage, and merchandise

 arriving in, or departing from, the United States are subject to inspection, search and

 detention” and that the passenger is “receiving this sheet because [their] electronic

 device(s) have been detained for further examination”). Officer Nunes also confirmed

 that in this case she had no “discretion not to conduct the electronic exam” of

 Robinson’s iPhone. Hr’g Tr. at 78. But CBP policy and practice does not determine

 whether an officer relied on binding appellate caselaw. The line between a routine

 and nonroutine search is not determined by “how ordinary or commonplace [the]

 search is, but rather the level of intrusion into a person’s privacy.” Tabaa v. Chertoff,

 509 F.3d 89, 98 (2d Cir. 2017) (internal quotation marks omitted). CBP’s apparently

 widespread policy of performing manual searches of cell phones at the border and

 informing travelers that it had the broad authority to do so simply does not bear on

 whether the agents’ actions in Robinson’s case were authorized by binding appellate

 precedent.

       Not only was there was no binding appellate precedent in November 2022




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 holding that border searches of cell phones are “routine” searches that may be

 conducted in the absence of reasonable suspicion, but also, relevant precedent

 strongly indicated that the search of a cell phone was a significant “level of intrusion

 into a person’s privacy,” id. (quoting Irving, 452 F.3d at 123), and therefore

 nonroutine. Thus, no reasonable officer could have relied on binding precedent to

 believe that the search of Robinson’s iPhone at the border was routine and could be

 conducted “even without reasonable suspicion.” Levy, 803 F.3d at 122 (internal

 quotation marks omitted).

              ii.    The Search of Robinson’s Cell Phone was Not Supported by
                     Reasonable Suspicion

       Given that the Officer Nunes could not have reasonably relied on the “routine”

 border search exception to conduct a suspicionless search of Robinson’s iPhone, the

 Court next considers if the facts known to her at the time provided a good faith basis

 to conclude that a “nonroutine” border search was justified. While this Court, as

 explained supra, concludes that the Fourth Amendment requires probable cause and

 a warrant to conduct a manual search of a cell phone at the border, it recognizes that

 neither the Supreme Court nor the Second Circuit had yet decided this issue at the

 time Robinson’s phone was searched in November 2022. (Nor has either court done

 so as of the date of this opinion.) Additionally, the highest degree of suspicion that

 the Second Circuit has found necessary in a nonroutine search is “reasonable

 suspicion.” See, e.g., Levy, 803 F.3d at 124; Irving, 452 F.3d at 124; United States v.

 Ogberaha, 771 F.2d 655, 657 (2d Cir. 1985). Thus, if the objective facts available to

 Officer Nunes created a reasonable suspicion that there was contraband on



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 Robinson’s iPhone at the time he presented himself at CBP, the government would

 have a stronger argument that the initial manual search was “conducted in

 objectively reasonable reliance on binding appellate precedent.” Davis, 564 U.S. at

 231. On this record, however, the government fails to make even that showing.

       An officer’s reasonable suspicion must be supported by “specific and articulable

 facts” that, “taken together with rational inferences,” provide that officer with an

 objective basis for a search. United States v. Compton, 830 F.3d 55, 61 (2d Cir. 2016)

 (internal quotation marks omitted).            In the context of a border search,

 “reasonableness is defined by weighing the warranted suspicion of the border official

 against the offensiveness of the intrusion.” Asbury, 586 F.2d at 976. The Second

 Circuit has “pointed to a number of factors that courts may consider in making the

 reasonable suspicion determination, including unusual conduct of the defendant,

 discovery of incriminating matter during routine searches, computerized information

 showing propensity to commit relevant crimes, or a suspicious itinerary.” Irving, 452

 F.3d at 124. Because this Court has already held that the “offensiveness of the

 intrusion” of a cell phone search is high, it must measure the “warranted suspicion of

 the border official.” Asbury, 586 F.2d at 976.

       The government argues that the TECS report regarding Robinson, standing

 alone, provided Agent Nunes with reasonable suspicion that he possessed CSAM on

 his phone. See Gov’t Opp. at 23. The TECS report was generated three years before

 Robinson’s phone was searched, on November 11, 2019. TECS Report at 1; see Hr’g

 Tr. at 50. The full contents of the alert, as presented to Officer Nunes, read: “Subj




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 linked to the purchase of child sexual exploitation material via FinCen. Refer to

 Secondary for interview & media device exam to include cell phones and laptops.” 5

 TECS Report at 2.

       Nunes confirmed that the entry on Robinson was a “prime hit” — meaning that

 the “system ha[d] determined that the person that’s in front of the officer is 100

 percent the person in the record.” Hr’g Tr. at 98–99. However, a “prime hit” does not

 indicate anything about the reasons why the TECS Report was created; it merely

 confirms that the traveler is the person whom the alert was intended to flag for

 inspection.

       Once a CBP officer at JFK Airport is alerted to a prime hit, it “requires a

 mandatory referral to secondary for inspection.” Id. Officer Nunes also testified that

 the TECS hit was generated by a division of CBP called the National Targeting

 Center (“NTC”). See id. at 101. In the case of a prime hit lookout generated by the

 NTC, there is typically no discretion as to whether or not the officer conducts an

 electronic media exam. Hr’g Tr. at 103–04. Nunes indicated that she may have

 discretion only when it is clear that the “hit ha[d] been resolved,” such as when the



       5 Officer Nunes testified that she “vaguely remember[ed] that [she] [thought]

 there was an update” to the TECS lookout, which was “maybe a year prior” to the
 encounter but she was “not a hundred percent sure.” Hr’g Tr. at 51. At the hearing,
 she also reviewed each page of the lookout and confirmed that there was nothing on
 those pages indicating that the report had been “refreshed” or “updated”
 approximately one year after it was entered. Id. at 87–88. Based on the Court’s
 assessment of Officer Nunes’ in-court testimony, and the fact that she was candid
 about the fact that this was a “vague[]” recollection, the Court finds, for purposes of
 this motion, that the TECS lookout was entered in November 2019, and that there is
 no evidence that it was updated at any time before Robinson landed at JFK in
 November 2022.


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 system indicates that another officer already “fully addressed whatever the lookout

 was.” Id. Nunes also testified, however, that prime-hit lookouts “don’t expire.” Id.

 at 104. And even if Nunes interviews a traveler who is subject to a TECS lookout,

 and releases the traveler after she has determined that the reason for the detention

 has been “fully addressed,” an NTC-generated lookout will remain in the system until

 someone at “a different division” of CBP removes it. Id. at 104–05. Nunes herself

 has no ability to remove an NTC lookout from TECS, even when it has been “closed

 out” by her. Id.

       The government also called Agent Egbert Simon, formerly a Supervisory

 Customs and Border Protection Officer and now a Special Agent with the United

 States Attorney’s Office.     Id. at 107–08.    Agent Simon played no role in the

 investigation of Robinson, id. at 110, and had never been detailed at NTC, id. at 119,

 but testified to his understanding of how TECS reports are generated by the National

 Targeting Center and how they are viewed by officers at the border. He described

 the NTC as “like an intelligence hub for frontline personnel.” Id. at 113. In his view,

 when a lookout is generated by the NTC, “you’re going to feel that they have already

 done their . . . research and their analysis for creating that record.” Id.; see also id.

 at 114 (“[I]f it’s from NTC, we’re going off the basis that there’s some type of research

 or intel behind it.”). Agent Simon also confirmed that while lookouts issued by CBP

 officers in the field only remain valid for one year, that expiration date does not apply

 to lookouts generated by anyone at NTC. Id. at 117, 126.         Thus, a single lookout

 generated by an agent at the National Targeting Center could remain in TECS




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 indefinitely. Id.

       It is true, as the government argues, that “a TECS hit can significantly factor

 into a reasonable suspicion finding.” Gov’t Opp. at 22. But here, the TECS hit did

 not just “factor significantly” into CBP’s decision to search Robinson’s cell phone. It

 is the only evidence the government cites in support of its claim that Officer Nunes

 had a reasonable suspicion that Robinson was in possession of CSAM on his iPhone

 on November 14, 2022. See id. at 21–23. Yet the government has cited no case, from

 any jurisdiction, in which any court has held that a TECS hit with this paucity of

 information, standing alone, established the requisite reasonable suspicion to

 conduct a nonroutine border search. And it certainly has not pointed this Court to

 any case in which a three-year-old TECS hit provided the requisite reasonable

 suspicion.

       Instead, every case the government relies upon in which reasonable suspicion

 existed involves a TECS hit combined with other factors. In the Ninth Circuit case

 of United States v. Cotterman, for example, a TECS hit indicated not only that the

 defendant was a registered sex offender whose prior convictions involved multiple

 acts of sexual abuse against children, but also that he was “potentially involved in

 child sex tourism.” 709 F.3d at 957, 969. As the court noted, CBP was alerted to the

 fact that Cotterman frequently traveled outside the United States and was returning

 from a “country associated with sex tourism,” and the agent was specifically informed

 by Immigration and Customs Enforcement that the TECS alert had been generated

 by Operation Angel Watch, a specialized law enforcement unit that “targeted




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 individuals potentially involved in sex tourism.” Id. at 968–69. The Court concluded

 that “[defendant’s] TECS alert, prior child-related conviction, frequent travels,

 crossing from a country known for sex tourism, and collection of electronic equipment,

 plus the parameters of Operation Angel Watch program, taken collectively, gave rise

 to reasonable suspicion.” Id. at 969.

       Similarly, in United States v. Whitted, while the government did rely on a

 TECS hit which indicated a “one-day lookout” for the defendant in establishing

 reasonable suspicion, the law enforcement officer “conducted further inquiries in the

 TECS and discovered that [defendant’s] ticket has been purchased at the last

 minute,” that he “traveled to other drug source countries” and that he had a “criminal

 record.” 541 F.3d 480, 483 (3d Cir. 2008). The Third Circuit found that these were

 “numerous facts” which “raised the suspicion that that Whitted was involved in drug

 smuggling.” Id. at 490.    Nor is this case analogous to Irving, in which the Second

 Circuit found that there was reasonable suspicion to search the defendant’s computer

 diskettes. Gov’t Opp. at 23. In Irving, the Second Circuit based its reasonable

 suspicion determination not only on the fact that the defendant “was the subject of a

 criminal investigation,” but also that he “was a convicted pedophile,” that he “had

 been to Mexico,” that “he claimed that he visited an orphanage while in Mexico,” and

 that “his luggage contained children’s books and drawing that appeared to be drawn

 by children.” 452 F.3d at 124. 6


       6 In addition to the Circuit Court decisions cited above, the government also

 cites United States v. Ramirez, in which a district court in the Western District of
 Texas found that border agents had reasonable suspicion to search the phone of a



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       Here, by contrast, the only information provided to Officer Nunes was a three-

 year old electronic notification that the person in front of her was “linked to the

 purchase” of CSAM. TECS Report at 2. It is undisputed that “customs officers should

 be able to rely on data provided by computer reports to create reasonable suspicion

 for a search.” Whitted, 541 F.3d at 490. However, the information relied upon must

 itself create the requisite suspicion. Even taking into account the facts that this was

 a “prime hit” (which confirmed that Robinson was the person to whom the November

 2019 entry referred) and generated by the National Targeting Center, all that

 demonstrates is that a unit of CBP — which acts as its “intelligence hub for field

 personnel,” Hr’g Tr. at 119 — possessed information about a possible “link[]” to a

 CSAM purchase by Robinson from three years earlier, TECS Report at 2. And for

 several reasons, that alone was insufficient to provide a reasonable suspicion that

 Robinson possessed CSAM on his phone on November 14, 2022.

       First, Officer Nunes did not know if the TECS hit from November 11, 2019,

 was in reference to a single isolated purchase, or multiple purchases over a longer




 defendant who was diverted to secondary inspection based on a TECS hit that (as
 here) linked him to the possible purchase of child pornography. No. EP-18-cr-3530
 (PRM), 2019 WL 3502913, at *1 (W.D. Tex. Aug. 1, 2019). But that case is inapposite,
 since in Ramirez, the court made a factual finding (after an evidentiary hearing) that
 the defendant immediately gave his knowing and voluntary consent to search his
 device, and during that consent search, child pornography was lawfully discovered
 and seized. Id. at *6–12. Here, by contrast, the government is not contending that
 Robinson consented to the search of his phone, but rather that CBP had the legal
 authority to compel him to submit to a device search because the TECS hit alone
 provided the requisite reasonable suspicion. See Oral Arg. Tr. at 69 (confirming that
 the government is not contending that either CBP or HSI searched Robinson’s phone
 on consent).


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 period of time.     And while certainly giving rise to a potentially important

 investigative lead at the time the hit is generated, even if the information were

 accurate, a single purchase of contraband does not necessarily create a reasonable

 suspicion that the person is in possession of such contraband three years later.

 Additionally, even though it was a prime hit, the TECS report does not even

 affirmatively state that Robinson “purchased” CSAM, but rather that he was “linked

 to the purchase” of CSAM. TECS Report at 2. A person could be “linked to the

 purchase” of contraband without purchasing the contraband themselves — for

 example, if a credit card was used without their knowledge by another member of

 their household. Or a person could be the victim of credit card fraud and unaware of

 the fact that their stolen card was used to purchase digital contraband. The Court

 notes that this is not a de minimis risk in the modern era: according to the Federal

 Trade Commission, in 2020 alone, there were 1,387,615 reports of identity theft in

 the United States. See Office of the New York State Comptroller, The Increasing

 Threat      of      Identity      Theft        3    Fig.      1      (May           2021),

 https://www.osc.ny.gov/files/reports/pdf/increasing-threat-of-identity-theft.pdf.

       This is not to say that a single TECS hit linking someone to an earlier purchase

 of contraband, including but not limited to CSAM, could never provide reasonable

 suspicion that the person possessed contraband at the border. The government’s case

 for reasonable suspicion would be much stronger, if, for instance, the information

 available to the border agent was that Robinson had been linked to a purchase of

 CSAM in the week he was traveling abroad, especially if that purchase was connected




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 to an IP address in the country from which he was arriving. That was decidedly not

 the case in this instance. And as noted above, the government has found no case —

 and this Court knows of none — in which a TECS hit linking the subject to the

 purchase of CSAM, and nothing else, provided reasonable suspicion to conduct a

 warrantless search of a traveler’s devices.

       The age of the TECS report itself also cuts strongly against a finding of

 reasonable suspicion here. As the Second Circuit has long recognized, even reliable

 information that would otherwise provide grounds for a search can go stale. “[T]he

 principal factors in assessing whether or not the supporting facts have become stale

 are the age of those facts and the nature of the conduct alleged to have violated the

 law.” Diamondstone v. Macaluso, 148 F.3d 113, 124 (2d Cir. 1998) (internal quotation

 marks omitted). While the Circuit has primarily addressed the issue of staleness in

 the context of probable cause, “courts in this Circuit have generally found that the

 information necessary to support a finding of probable cause should be no older than

 a year.” United States v. Bazemore, No. 20-cr-573 (ER), 2021 WL 1719233, at *4

 (S.D.N.Y. Apr. 30, 2021) (internal quotation marks omitted) (collecting cases); cf.

 United States v. Gallo, 863 F.2d 185, 192 (2d Cir. 1988) (noting that where the

 conduct is continuing, “the passage of time” becomes less significant). That probable

 cause benchmark provides important guidance in assessing whether a single piece of

 information about a traveler’s purchase(s) within the United States can provide

 reasonable suspicion that he possesses contraband at the border three years later.

       Of course, deciding whether an investigative lead into the possible purchase of




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 child pornography is stale requires a court to consider the nature of the contraband

 itself. On this point, the Court credits the testimony of Agent Stepien that, in a

 substantial number of cases he has investigated or otherwise learned about, the

 collection of child pornography “doesn’t just stop with one download. It’s usually over

 years of collection until either they get caught[,] or, you know, something else

 happens.” Hr’g Tr. at 131–32. However, this does not mean that information related

 to a suspected purchase of child pornography never goes stale — as the Second Circuit

 has expressly recognized.    In Raymonda, the Second Circuit acknowledged that

 hoarding of images is common among those involved in the trade of child

 pornography. See 780 F.3d at 115. Nevertheless, the Court found that “nine-month-

 old evidence” that a user with an IP address associated with the defendant’s home

 opened pages that had thumbnail links housing child pornography did “not create a

 fair probability that child pornography [would] still be found on [defendant’s]

 computer” months later. Id. at 116–17. The Raymonda court distinguished that case

 from those in other Circuits where past information regarding the suspect’s

 interaction with digital CSAM was not stale: for example, where the suspect not only

 downloaded images but uploaded them as well, or where a suspect was shown to have

 had to “enter a decoded URL address and decrypt” a download, or where a suspect

 had registrations to websites and did not cancel his memberships. See id. at 114–15

 (collecting cases). Those are all circumstances, the Court explained, which “tend[ed]

 to negate the possibility that a suspect’s brush with child pornography was a purely

 negligent or inadvertent encounter” and suggested — “as is common among persons




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 interested in child pornography — [the suspect] likely hoarded the images he found.”

 Id. at 115.

       As in Raymonda, the three-year-old TECS report in the instant case had

 nothing in it to suggest that Robinson’s “brush with child pornography was [not] a

 purely negligent or inadvertent encounter.” Id. Of course, the photographs and

 videos seized from Robinson’s devices in November 2022 now strongly indicate

 otherwise. But reasonable suspicion is based on what was known to the officer at the

 time of the search. And here, Officer Nunes had no information about Robinson

 except for that single, three-year-old TECS hit — no criminal record, no continuing

 downloads, no incriminating statements, no suspicious travel history to locations

 known for child sexual exploitation.      Thus, even assuming, arguendo, that the

 government had reasonable suspicion in 2019 that Robinson had purchased CSAM,

 that does not make a search of his phone upon returning from a one-time vacation

 abroad with his spouse three years later “reasonably related in scope to the

 circumstances which justified it initially.” Montoya de Hernandez, 473 U.S. at 542.

               iii.   Cost of Suppression Balanced Against Deterrence Value

       In determining whether suppression is appropriate, this Court must conduct

 “the cost/benefit analysis required by Herring,” which permits the Court to exclude

 evidence only if “the costs of letting a guilty defendant go free” are outweighed by the

 “benefits of deterrence.” Julius, 610 F.3d at 67–68 (quoting Herring, 555 U.S. at 141);

 see also Pa. Bd. of Prob. & Parole v. Scott, 524 U.S. 357, 368 (1998) (“We have never

 suggested that the exclusionary rule must apply in every circumstance in which it




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 might provide marginal deterrence.”). Because the exclusionary rule is a means of

 deterring unconstitutional law enforcement conduct, “it is applicable only where its

 deterrence benefits outweigh its substantial social costs.” Scott, 524 U.S. at 363

 (internal quotation marks omitted). The Supreme Court has acknowledged that the

 exclusion of evidence comes with “substantial social costs,” as “[i]t almost always

 requires courts to ignore reliable, trustworthy evidence bearing on guilt or

 innocence.”    Davis, 564 U.S. at 237 (internal quotation marks omitted).

 “Nevertheless, society must swallow this bitter pill when necessary; specifically,

 when the deterrence benefits of suppression . . . outweigh its heavy costs.” Lauria,

 79 F.4th at 121 (alteration in original and internal quotation marks omitted).

       As a starting point, the exclusion of inculpatory evidence always comes at a

 cost to “truth and the public safety.” Davis, 564 U.S. at 232. As the Supreme Court

 has stated, “letting guilty and possibly dangerous defendants go free . . . offends basic

 concepts of the criminal justice system.” Herring, 555 U.S. at 141 (internal quotation

 marks omitted).

       Those concerns are further heightened where, as here, a defendant is charged

 with an offense involving child pornography. That is true even though the instant

 case involves the possession of CSAM, rather than its production or sale, and even

 though Robinson has not been accused of any unlawful sexual contact with a minor.

 This is not to say that all CSAM-related charges are equivalent in terms of the harm

 they cause. As the Sentencing Commission has noted, “not all child pornography

 offenders are pedophiles, and not all child pornography offenders engage in other sex




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 offending.”   U.S. Sentencing Comm’n, Federal Child Pornography Offenses (Dec.

 2012), at 73; see also United States v. R.V., 157 F. Supp. 3d 207, 239 (E.D.N.Y. 2016)

 (JBW) (citing to research finding that “for most offenders, their online offending has

 no behavioural link to contact sex offending” (alteration adopted) (quoting Hana Lena

 Merdian et al., The Three Dimensions of Online Child Pornography Offending, 19 J.

 of Sexual Aggression 121, 123 (2013)).

       Yet even the non-producing consumers of child pornography perpetrate

 extreme harm upon children. A child is victimized not only when the abuse that is

 depicted in CSAM first takes place; “[t]hey are further victimized each time that

 record is accessed.” Richard Wortley & Stephen Smallbone, U.S. Dep’t of Justice, Off.

 of Community Oriented Policing Servs., Child Pornography on the Internet, Problem-

 Oriented Guides for Police Problem-Specific Guides Series No. 41, at 15 (May 2006),

 https://popcenter.asu.edu/sites/default/files/child_pornography_on_the_internet.pdf.

 As reported by victims, this is because often “th[e] initial feelings of shame and

 anxiety did not fade but intensified to feelings of deep despair, worthlessness, and

 hopelessness.” Id. Indeed, in the same report in which the Sentencing Commission

 recognized that consuming child pornography is different than other sex offenses, it

 also emphasized that “[c]hild pornography offenses inherently involve the sexual

 abuse and exploitation of children.      Victims are harmed initially during the

 production of child pornography, but the perpetual nature of the distribution of

 images on the Internet causes a significant, separate, and continuing harm to

 victims.” U.S. Sentencing Comm’n, Federal Child Pornography Offenses, at 311




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 (emphasis supplied). The consumption and possession of child pornography is far

 from a victimless crime. “When the pornographic images are viewed by others, the

 children depicted are victimized once again.” Audrey Rogers, Child Pornography’s

 Forgotten Victims, 28 Pace L. Rev. 847, 853 (2008). Thus, this Court recognizes the

 strong government interest in rooting out and removing CSAM from circulation, a

 goal achieved in part by its ability to bring criminal prosecutions that hold purchasers

 accountable and deter others from making such purchases.

       On the other side of the equation, the Court must weigh the value of

 deterrence. To warrant exclusion, “[p]olice conduct must be sufficiently deliberate

 that exclusion can meaningfully deter it, and sufficiently culpable that such

 deterrence is worth the price paid by the justice system.” United States v. Jones, 43

 F.4th 94, 110–11 (2d Cir. 2022) (internal quotation marks omitted). In assessing

 culpability, the Court can consider whether the law enforcement action was “a

 deliberate strategic choice” to evade the general warrant requirement. United States

 v. Stokes, 733 F.3d 438, 444 (2d Cir. 2013).

       Importantly, “[t]he pertinent analysis of deterrence and capability is objective,

 not an inquiry into the subjective awareness” of the officer performing the search.

 Herring, 555 U.S. at 145 (internal quotation marks omitted). Thus, the inquiry does

 not turn on whether Officer Nunes was aware that she violated the Fourth

 Amendment when she searched Robinson’s phone, but whether “a reasonably well

 trained officer would have known that the search was illegal.” Leon, 468 U.S. at 922

 n.23. As discussed supra, this Court finds that no reasonably well-trained officer




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 could have believed that binding appellate precedent authorized the search of

 Robinson’s phone. Instead, CPB instituted, and required Officer Nunes to follow, a

 policy of mandatory electronic-device searches at JFK airport based on a single TECS

 hit from a different division of CBP that could have been (and was) entered years

 earlier — no matter the traveler’s personal history, itinerary, potential explanations

 for the TECS hit, or conduct at the airport. See, e.g., Hr’g Tr. at 78 (in light of the

 TECS prime hit from NTC, Nunes “did not have a choice” as to whether or not to

 search Robinson’s phone).

        Testimony at the suppression hearing also revealed that a TECS hit entered

 by an agent at the NTC may remain in the system indefinitely. See Hr’g Tr. at 117,

 126. At oral argument, the government took the position that any TECS hit such as

 this one, no matter how long it had been in the system, would give CBP agents the

 necessary reasonable suspicion to conduct a search of that traveler’s cell phone, as

 long as the alert had not been “resolved.” See Oral Arg. Tr. at 70–72. This Court

 disagrees. It simply cannot be the case that an agent at the so-called “National

 Targeting Center” can — in entering a single “lookout” targeting a person for the

 suspected purchase of contraband — create the requisite reasonable suspicion that

 might allow the person’s electronic devices to be searched upon reentry into the

 country for the rest of her life.

        The official policies that led to this search were thus, at the very least “grossly

 negligent.” Herring, 555 U.S. at 144. And as the Supreme Court recognized in

 Herring, deterrence may be well served “[i]n a case where systemic errors were




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 demonstrated.” Id. at 146; see also Hudson, 547 U.S. at 604 (Kennedy, J., concurring

 in part and concurring in judgment) (“If a widespread pattern of violations were

 shown . . . there would be reason for grave concern.”). This Court is indeed “gravely

 concern[ed]” about what appears to be a mandatory electronic-device-search policy

 for a sweeping category of TECS hits, of any age, even a decade after the Supreme

 Court made clear in Riley that a search of a person’s cell phone represents such a vast

 intrusion on personal privacy that it warrants particularly demanding Fourth

 Amendment scrutiny. The present record also shows the absence of any controls at

 JFK Airport to ensure that CBP searches the electronic devices of only those travelers

 for whom the agency possesses particularized, non-stale evidence that may be in

 possession of contraband on those devices at the time they reenter the United States.

       An additional factor that weighs in favor of exclusion is the inaction by law

 enforcement in the three years between the time the TECS report on Robinson was

 created and he was stopped at JFK airport.         There is no indication that after

 generating the purportedly reliable information that led to the TECS lookout on

 Robinson in November 2019, law enforcement took any steps to act on it. As noted

 supra, every download, every purchase, and every viewing of child pornography

 causes harm to the victims who were forced to participate in its creation, and to

 society as a whole. And yet, after learning that Robinson may have been linked to

 the unlawful purchase of child pornography, it appears that neither NTC nor any

 other law enforcement agency took any steps to confirm that fact and seize any CSAM

 he may have downloaded. They did not knock on his door and attempt to interview




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 him about these suspicious purchase(s). They did not seek a warrant that could have

 led to Robinson’s arrest in 2019. They did not ask if he would be willing to cooperate

 in a broader effort to identify the source of CSAM he illegally purchased — which

 could have led them to others far more directly engaged in “[t]he trade of child

 pornography[,] . . . a particularly vile aspect of the Internet.” Raymonda, 780 F.3d at

 120. Instead, they simply waited three years for a man who had never once left the

 country to go on his first trip overseas, then used the dragnet of the border search

 exception to compel him to surrender and provide the passcodes for the electronic

 devices in his possession.

       The Court need not decide whether this was due to mere inertia, or a more

 deliberate effort “to shirk the warrant requirement that would otherwise apply to

 searches of cellphones for evidence of a domestic crime by directing the seizure of the

 phone at the airport.” Fox, 2024 WL 3520767, at *10. But given the significant

 quantity of CSAM that was eventually found on Robinson’s devices, the fact that the

 government waited three years to rely on its claimed border search authority rather

 than timely acting on an investigative lead likely increased the harm caused by

 having this material in circulation. In assessing the deterrence value of exclusion,

 then, the Court finds that strict application of the exclusionary rule in Robinson’s

 case may incentivize law enforcement to take prompt action when they identify a

 potential purchaser of child pornography, rather than waiting years for that person

 to leave the country.

       Thus, for the reasons discussed above, the Court finds that the good faith




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 exception does not apply to the initial search of Robinson’s iPhone at JFK airport on

 November 14, 2022, and that the “corrective value” of deterrence outweighs the

 societal cost of excluding the seized evidence here. Raymonda, 780 F.3d at 117–18.

       C. Forensic Search: Reliance on Warrant

       The government further argues that the fruits of HSI’s subsequent forensic

 search of that device should not be suppressed because it was conducted by Agent

 Stepien pursuant to a warrant. See Gov’t Opp at 25.

       As a preliminary matter, there is no dispute that the evidence obtained from

 the manual search of Robinson’s phone at JFK Airport (namely, the fact that agents

 viewed “at least five” photographs that appeared to depict CSAM, Warrant Aff. ¶¶ 7–

 8) is what provided the agents with probable cause to obtain the warrant. However,

 even if a search warrant affidavit relies in part on what a court later concludes was

 illegally obtained evidence (as the Court has here), if “the remaining [untainted]

 portions of the affidavit would support probable cause, the warrant was properly

 issued.” United States v. Trzaska, 111 F.3d 1019, 1028 (2d Cir. 1997). Here, there is

 no colorable argument that Magistrate Judge Cho had probable cause to issue the

 warrant without considering the information provided by Agent Stepien about the

 identification of apparent CSAM on Robinson’s phone by Officer Nunes and then

 Agent Anstee when they manually searched the device. See Warrant Affidavit at 2–

 3. Thus, had the tainted evidence been excised from Agent Stepien’s search warrant

 affidavit, probable cause would not have existed to issue the warrant.

       But this is not the end of the analysis. When probable cause depends on




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 tainted information, the Court must determine if the “agent who conducted the search

 acted in good faith reliance on the search warrant.” United States v. Thomas, 757

 F.2d 1359, 1368 (2d Cir. 1985).     “[W]here a search is conducted pursuant to a

 judicially authorized warrant, a presumption of validity obtains with respect to the

 affidavit supporting the search warrant.” Lauria, 70 F.4th at 124 (internal quotation

 marks omitted).

       Thus, because Agent Stepien acted pursuant to a judicially authorized search

 warrant, his search is cloaked in a presumption of good faith. However, that cloak

 falls away when an officer “knows, or has reason to know, that he has materially

 misled a magistrate on the basis for a finding of probable cause.” Golino v. City of

 New Haven, 950 F.2d 864, 871 (2d Cir. 1991).         And “[w]hen the police exhibit

 ‘deliberate,’ ‘reckless,’ or ‘grossly negligent’ disregard for Fourth Amendment rights,

 the deterrent value of exclusion is strong and tends to outweigh the resulting costs.”

 Davis, 564 U.S. at 238 (quoting Herring, 555 U.S. at 144).

       The Second Circuit has identified at least four circumstances where an officer’s

 “reliance on an invalid warrant is unreasonable.” In re 650 Fifth Ave. & Related

 Properties, 934 F.3d 147, 162 (2d Cir. 2019). At issue in this case is the circumstance

 “where the issuing magistrate has been knowingly misled.” Id. (quoting United

 States v. Clark, 638 F.3d 89, 100 (2d Cir. 2011)). When the challenge to a warrant

 affidavit is not that it contained what turned out to be erroneous factual information

 — but rather that law enforcement’s actions were themselves in violation of the

 Fourth Amendment — the Court must determine if law enforcement acted knowingly




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 or recklessly in preparing the affidavit. See United States v. Reilly, 76 F.3d 1271,

 1280 (2d Cir.), on reh’g, 91 F.3d 331 (2d Cir. 1996). Specifically, the Court must

 determine whether the agent provided the issuing magistrate with enough

 information to “decide whether [law enforcement’s] conduct was sufficiently illegal

 and in bad faith to preclude a valid warrant.” Id. Moreover, “[t]he burden is on the

 government to demonstrate the objective reasonableness of the officers’ good faith

 reliance” on a subsequently invalid warrant. United States v. George, 975 F.2d 72, 77

 (2d Cir. 1992).

       This means that even if the facts cited in support of probable cause in a warrant

 affidavit were the product of what was later deemed to be an illegal search, if the law

 enforcement officer brought all relevant information and circumstances surrounding

 the search to the magistrate judge, “[t]here is nothing more the officer could have or

 should have done,” and suppression is inappropriate. Thomas, 757 F.2d at 1368. In

 Thomas, the Second Circuit found that a canine sniff at the defendant’s door, which

 led to the discovery of incriminating evidence, was unconstitutional. Id. at 1366–68.

 However, the Circuit determined that because “the DEA agent brought this evidence,

 including the positive ‘alert’ from the canine, to a neutral and detached magistrate,”

 and the magistrate determined there was probable cause for the warrant, “it was

 reasonable for the officer to rely on this determination.” Id. at 1368 (emphasis

 supplied).

       On the other hand, if the affidavit in support of a warrant application does not

 allow the issuing judge to “make a valid assessment of the legality of the warrant




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 that he [is] asked to issue,” the good faith exception will not apply. Reilly, 76 F.3d at

 1280. In Reilly, officers had illegally entered the curtilage of the defendant’s property

 in order to obtain the evidence (marijuana plants) that supported probable cause. Id.

 at 1279. The Second Circuit found that because the concept of curtilage was clearly

 protected in Fourth Amendment jurisprudence at the time, “the officers undertook a

 search that caused them to invade what they could not fail to have known was

 potentially [defendant’s] curtilage. They then failed to provide [the issuing judge]

 with an account of what they did.” Id. at 1281 (emphasis supplied). Instead, the

 warrant affidavit “presented only a bare-bones description” of the premises, which

 “was almost calculated to mislead.” Id. at 1280. The Circuit held that because the

 issuing magistrate judge did not have “crucial” facts to determine if the pre-warrant

 search was legal, it was “the officers . . . themselves [who were] ultimately responsible

 for the defects in the warrant.” Id. at 1280–81. Thus, the “the good faith exception

 does not apply when officers do not provide an issuing judge with details about their

 conduct during a pre-warrant search.” Id. at 1280.

       Thomas and Reilly provide this Court with key guideposts in assessing

 whether the government has met its burden of proving that Agent Stepien’s reliance

 on the warrant is covered by the good faith exception. More recently, sitting en banc,

 the Second Circuit provided a roadmap as to how to determine if a situation is more

 akin to Reilly or Thomas. The Circuit indicated that a court must ask if agents

 “disclosed all crucial facts for the legal determination in question to the magistrate

 judge,” then, a court must determine whether the agents preparing the affidavit had




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 “significant reason to believe that their predicate act was . . . unconstitutional.”

 Ganias, 824 F.3d at 223 (internal quotation marks omitted); see also id. at 224

 (finding that agent who “provided sufficient information in her affidavit to apprise

 the magistrate judge of the pertinent facts regarding . . . the alleged constitutional

 violation on which [Ganias] relies” was covered by good faith exception). In Fox,

 Judge Garaufis helpfully summarized these key components as “materiality (whether

 [the agent] materially misled the magistrate) and knowledge (whether [the agent]

 made these omissions knowingly, recklessly or with gross negligence).” 2024 WL

 3520767, at *22.

       Turning to Agent Stepien’s warrant application, he described the events

 leading to the CBP and HSI searches of Robinson’s phone only as follows:

              [] On November 14, 2022, ROBINSON landed at John F. Kennedy
       International Airport (“JFK Airport”), traveling from Cairo, Egypt, via
       British Airways flight BA 115 arriving from London, United Kingdom.
       He was stopped by United States Customs and Border Protection
       (“CBP”) at JFK Airport for secondary inspection. A border search was
       conducted. During the search, ROBINSON voluntarily gave CBP
       officers the password for the Subject Device. Upon manually reviewing
       the Subject Device, CBP officers identified that there was child sexual
       abuse material on the subject device.

              [] At the border, a law enforcement agent with HSI conducted a
       preliminary review of the Subject Device and confirmed that it contained
       at least five photos containing child sex abuse material. Specifically, the
       law enforcement agent with HSI reviewed several images of what
       appeared to be a minor male, approximately age 13 to 16 years old,
       engaged in sexual activity, including anal sex and oral sex, with an adult
       male. There were also several images of the minor male naked, as well
       as close-up images of the minor male’s genitalia.

 Warrant Aff. ¶¶ 7–8 (footnotes omitted).

       After the sentence, “A border search was conducted[,]” Agent Stepien added a



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 footnote, which read:

        The federal government has “broad plenary powers to conduct so-called
        ‘routine’ searches at the border even without ‘reasonable suspicion that
        the prospective entrant has committed a crime.’” United States v. Levy,
        803 F.3d 120, 122 (2d Cir. 2015) (quoting Tabbaa v. Chertoff, 509 F.3d
        89, 97–98 (2d Cir. 2007))

 Id. at 3 n.1.

        What Agent Stepien notably omitted from the search warrant affidavit, of

 course, was any mention of the November 2019 TECS hit: i.e., the very reason why

 Robinson was referred to secondary inspection to have his devices searched.        This

 was not because Agent Stepien was ignorant of that fact: at the suppression hearing,

 he confirmed that at the time he applied for the warrant, he was fully aware that the

 reason Robinson had been referred to secondary inspection was because Nunes was

 alerted to this TECS hit. See Hr’g Tr. at 146. And of course, the TECS hit is the very

 information that the government now relies upon to contend that the initial search of

 Robinson’s iPhone was supported by reasonable suspicion.           Additionally, Agent

 Stepien informed the magistrate judge that Robinson “voluntarily” provided the

 passcode to his phone, Warrant Aff. ¶ 7, while omitting the fact that he was provided

 with a tear sheet essentially telling him that CBP had full authority to compel him

 to submit to that search. See Tear Sheet at 2 (stating that “[a]ll persons, baggage,

 and merchandise arriving in, or departing from, the United States are subject to

 inspection, search and detention” and that Robinson was “receiving this sheet

 because [his] electronic device(s) have been detained for further examination”).

        Like the officers in Reilly, Agent Stepien was fully aware of the factual context




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 surrounding the original search, but he provided only a “bare-bones” recitation of

 those facts. And as in Reilly, he did so despite being aware of the potential Fourth

 Amendment implications of the facts he omitted — i.e., that established caselaw

 distinguishes between “routine” and “nonroutine” searches, and limits the

 circumstances under which border agents may conduct a search that falls into the

 latter category. By citing to the Second Circuit case Levy for general propositions of

 law regarding “routine” border searches, and describing the search only in generic,

 passive-voice terminology, see Warrant Aff. ¶ 7 (“A border search was conducted.”),

 Agent Stepien falsely indicated to the magistrate judge that what occurred was

 nothing more than a routine, suspicionless search of a randomly selected traveler.

        At oral argument, the government contended that Agent Stepien had no reason

 to include the information regarding the TECS hit as he believed that it was a routine

 border search, and because no level of suspicion is necessary for a routine border

 search, including the TECS hit was unnecessary. See Oral Arg. at 64 (argument, by

 government counsel, that Stepien did not mention the TECS hit because “it’s not

 necessary to include all the background about investigation when making a warrant

 application”); see also id. at 67 (“[I]t is outside the practice of search warrant drafting

 to include every single fact that might have led to the recovery of an electronic device

 that is now the subject of a search warrant.”); see also id. at 66 (“It’s impossible to

 include every single thing that happens in an interaction with somebody when you’re

 writing a search warrant affidavit.”).

        The government is correct that an officer need not provide every detail of an




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 earlier search in a warrant affidavit. However, it has been settled law in this Circuit

 for nearly three decades that an officer must provide relevant “details about their

 conduct during a pre-warrant search.” Reilly, 76 F.3d at 1280. That is particularly

 so where — as here — the affiant is aware of existing Fourth Amendment caselaw

 concerning the specific category of searches that the magistrate judge may need to

 apply to assess the constitutionality of the officers’ earlier actions.     Id. at 1281

 (finding officers’ actions were not protected by good faith when they “undertook a

 search that caused them to invade what they could not fail to have known was

 potentially [defendant’s] curtilage” and “their actions in not describing [the search]

 to the judge [is not] the kind of behavior to which the term good faith can be applied”).

 The record before this Court, including but not limited to its assessment of Agent

 Stepien’s demeanor at the hearing, leads this Court to the firm conclusion that the

 omission of the TECS hit from the warrant affidavit was not inadvertent. It is

 difficult to conceive how any officer acting in good faith could omit that information

 inadvertently, or (as the government now contends) do so in order to limit the

 affidavit to only necessary “context.” And it is a particularly difficult claim to credit

 here, since Agent Stepien included other far less relevant (or irrelevant) information,

 such as the airline and flight number for the plane on which Robinson arrived at JFK.

 See Warrant Aff. ¶ 7.

       Notably, at the hearing, the government did not elicit from Agent Stepien any

 explanation as to why he did not simply inform Magistrate Judge Cho that a TECS

 hit stating that Robinson was linked to the purchase of CSAM three years prior was




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 the actual reason for the search. He simply agreed with the general questions from

 the government that he believed the observations made during the search of the

 phone “were lawfully obtained” because the search was a “border search.” Hr’g Tr. at

 150.

        Additionally, even if the Court were to credit Agent Stepien’s claim that he

 believed this was a “routine” border search requiring no reasonable suspicion, that

 does not explain why he would have left the TECS report out of the affidavit — unless

 he did not want the issuing judge to ask questions regarding the TECS hit, its origins,

 its age, and anything else that might bear on whether the agents had reasonable

 suspicion to search Robinson’s phone at the border.        If Agent Stepien sought the

 warrant not to sanitize the earlier warrantless search, but in a good faith effort to

 ensure that HSI had probable cause to conduct a forensic search, he would have

 certainly included the details that provided law enforcement with particularized

 grounds to search the phone. The Court does not come to this view out of conjecture;

 it does so based on Agent Stepien’s own words. In the warrant affidavit, Agent

 Stepien wrote that “while HSI might already have all necessary authority to examine

 the Subject Device, I seek this additional warrant out of an abundance of caution to

 be certain that an examination of the Subject Device will comply with the Fourth

 Amendment.” Warrant Aff. ¶ 10 (emphasis supplied). It defies common sense that

 Agent Stepien would prepare an entire search warrant affidavit to ensure the legality

 of a device search “out of an abundance of caution,” but would not include key details

 in that affidavit that, in the government’s own view, provided particularized




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 suspicion that Robinson had contraband on that device when he reentered the

 country.

       Thus, in light of the foregoing record, the Court finds that Agent Stepien

 knowingly and intentionally omitted what he knew or should have known was

 material information regarding the TECS report that led to the manual search of

 Robinson’s phone.    Moreover, he falsely implied, through the statements he did

 include in the affidavit, that the search at issue was merely a “routine search[] at the

 border” of a randomly selected traveler. Warrant Aff. at 3 n.1 (internal quotation

 marks omitted). It would not be unreasonable to conclude that Agent Stepien did so

 with the specific intent to mislead the magistrate judge — i.e., because he did not

 want Judge Cho questioning whether the initial search of Robinson’s phone was

 routine or nonroutine, and whether it was supported by reasonable suspicion. But at

 the very least, it is clear that Agent Stepien acted recklessly when he presented the

 court with this incomplete and misleading warrant affidavit. See Reilly, 76 F.3d at

 1280 (“We have previously held that recklessness may be inferred when omitted

 information was clearly critical to assessing the legality of a search.” (internal

 quotation marks omitted)).

       It is not only what Agent Stepien left out of his affidavit that leads this Court

 to conclude that he did not act in good faith; it is also the information he included.

 Agent Stepien wrote that Robinson “voluntarily gave CBP officers the password” for

 his phone. Warrant Aff. ¶ 7. This strongly implied that, even if the search was not

 valid under the border exception, it was a “consent search.” While that is a well-




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 recognized exception to the warrant requirement, a search is not voluntary if “granted

 only in submission to lawful authority.” Schneckloth v. Bustamonte, 412 U.S. 218,

 233 (1973); see also United States v. Isiofia, 370 F.3d 226, 230 (2d Cir. 2004) (“The

 government has the burden of proving, by a preponderance of the evidence, that a

 consent to search was voluntary.”). Here, through taking Robinson into a secondary

 inspection area from which he was not free to leave, providing him with a tear sheet

 which indicated that CBP had full legal authority to search his phone, and stating,

 “what’s the password for the phone,” Hr’g Tr. at 55, Officer Nunes did not ask

 Robinson for his consent to examine the contents of his cell phone; she did not give

 Robinson any option but to consent to that search.

       The government has, appropriately, not argued that this was in fact a consent

 search. Rather, it argues that the statement that Robinson “voluntarily gave CBP

 officers [his] password” in the warrant affidavit did not imply or suggest that it was

 a consent search; instead, it argues that Agent Stepien included this language merely

 to provide “context as to how this came to be a search at all.” Oral Arg. Tr. at 30–31.

       This argument is implausible.       The warrant affidavit contains only five

 sentences detailing all the events that took place from when Robinson landed at JFK

 to when CBP officers identified CSAM on his phone. See Warrant Aff. ¶ 7. This Court

 fails to understand how the sentence that “Robinson voluntarily gave CBP officers

 the password for the Subject Device” was more relevant “context” than the very

 reason Officer Nunes testified that she was mandated by CBP policy to take Robinson

 to secondary screening and search his devices. When so little other information about




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 the search was provided, it is a fair inference that this information was included to

 falsely imply that the search was performed only because Robinson “voluntarily”

 consented to it.

       For the foregoing reasons, this Court finds that Agent Stepien’s material

 omissions from — and misrepresentations in — his warrant affidavit amounted to, at

 the very least, a “reckless disregard for the truth.” Lauria, 70 F.4th at 125 (quoting

 United States v. Canfield, 212 F.3d 713, 718 (2d Cir. 2000)). Thus, his subsequent

 reliance on the search warrant is not protected by the good faith exception, and the

 evidence obtained from the forensic search of Robinson’s iPhone following execution

 of the search warrant must be excluded.

                                    CONCLUSION

       As the initial search of Robinson’s iPhone was conducted without a warrant

 and probable cause, it violated his Fourth Amendment right to be free from

 unreasonable search and seizure. Further, as the government has not shown that

 the officers who conducted the search had an objective, good faith basis to believe that

 their conduct was lawful under binding appellate precedent, all the evidence obtained

 from that search must be excluded. Nor can the government rely upon evidence

 obtained from the subsequent judicial warrant, as the HSI agent who submitted the

 warrant affidavit knowingly failed to disclose to the magistrate judge the

 circumstances surrounding the earlier search of Robinson’s phone, and exhibited

 what the Court concludes was, at the very least, a reckless disregard for the truth.




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       The Court does not come to this conclusion lightly. Robinson’s cell phone

 contained a substantial quantity of child pornography, the circulation and possession

 of which caused enormous harm to the minors depicted in those images. But “[o]ur

 commitment to equal justice and the rule of law requires the courts to faithfully apply

 criminal laws as written . . . even when the conduct alleged is indisputably

 abhorrent.” Fischer v. United States, 603 U.S. 480, 499 (2024) (Jackson, J.,

 concurring). Certainly, no less is required when courts are called upon to faithfully

 apply the Fourth Amendment’s guarantees.

       For these reasons, Robinson’s motion to suppress the evidence recovered from

 his iPhone is GRANTED.

       SO ORDERED.


                                               /s/ Nina R. Morrison
                                             NINA R. MORRISON
                                             United States District Judge

 Dated: May 9, 2025
        Brooklyn, New York




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